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                            UNITED STATES COURT OF APPEALS
                                     FOR THE FIRST CIRCUIT
      _________________________________________
                                                  )
      PEDRO LOPEZ, et al.                         )
                                                  )    Case No. 14-1952
                         Plaintiffs-Appellants,   )
                                                  )
            v.                                    )
                                                  )
      CITY OF LAWRENCE, et al.,                   )
                                                  )
                         Defendants-Appellees     )
      _________________________________________ )

      PLAINTIFFS-APPELLANTS’ RESPONSE REGARDING SMITH V. CITY OF BOSTON

              Lopez and Smith both involve the 2008 exam, where 68 of the 80 questions on the

      sergeant’s exam are also on the lieutenant’s exam. Sealed Record Appendix, 25.1 Judge Young

      characterized his holding on validity as a conclusion of law. Smith, 2015 WL 7194554, at *21-24

      (D. Mass. Nov. 16, 2015). He ruled:

             The 1991 validation report, the 2000 job analysis, and the 2008 test outline “does not
              support the necessary inference that those who perform better on the exam can be better
              performers on the job primarily because the exam does not test a sufficient range of
              KSA’s.” *21

             The E&E component added nothing to the exam’s validity. *22

             The test construction “was inadequate to support the heightened validity requirement
              necessary to rank candidates.” *22-24
              Judge O’Toole’s conclusion that the same exam was “valid” constitutes a conclusion of

      law or at least a mixed question of law and fact. See Johnson v. City of Memphis, 770 F.3d 464,

      473 (6th Cir. 2014); see also Monaghan, Constitutional Fact Review, 85 Colum. L. Rev. 229,

      236 (1985) (“the legal sufficiency of the evidence may be viewed as the equivalent of a question



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        The entire Lopez record was admitted as evidence in Smith and relied upon by the parties and
      the court. Id. at *5, 8-10, 16, 21 n. 21, 27.
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      of law”). Judge O’Toole’s conclusion is not supported by subsidiary findings necessary to

      support the ultimate conclusion, and for that reason alone requires reversal. Alexander v. Local

      496 LIUNA, 177 F.3d 394, 425 (6th Cir. 1999).

                                                   Respectfully submitted,
                                                   PEDRO LOPEZ, et al.
                                                   By their attorneys,


                                                   /s/ Harold Lichten
                                                   Harold Lichten, #22114
                                                   Benjamin Weber, #1159650
                                                   Lichten & Liss-Riordan, P.C.
                                                   729 Boylston Street, Suite 2000
                                                   Boston, MA 02114
                                                   (617) 994-5800
                                                   hlichten@llrlaw.com
                                                   bweber@llrlaw.com


                                                   Stephen Churchill, #30464
                                                   Fair Work, P.C.
                                                   192 South Street, Suite 450
                                                   Boston, MA 02111
                                                   (617) 607-3262
                                                   steve@fairworklaw.com
      DATED: December 22, 2015




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                                     CERTIFICATE OF SERVICE

             I hereby certify that, on December 22, 2015, I caused a true copy of this document to be

      sent via the court’s CM/ECF system to all counsel of record.

                                                  _/s/ Harold L. Lichten _______
                                                  Harold L. Lichten, Esq.




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